Case 0:11-cv-61227-DLG Document 1 Entered on FLSD Docket 05/26/2011 Page 1 of 9




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.

 KATHERINE W. YOUNG,
 on behalf of herself and
 all others similarly situated,

       Plaintiff,

 v.

 ARS NATIONAL SERVICES, INC., and
 LVNV FUNDING, LLC.

      Defendant.
 _________________________________________/

                          CLASS ACTION COMPLAINT
                               JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”).

                           JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, and 15

 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here and

 Defendant, ARS NATIONAL SERVICES, INC. placed telephone calls and sent

 letters into this District on behalf of Defendant, LVNV FUNDING, LLC.

                                      PARTIES

       3.     Plaintiff, KATHERINE W. YOUNG, is a natural person, and citizen

 of the State of Florida, residing in Broward County, Florida.
Case 0:11-cv-61227-DLG Document 1 Entered on FLSD Docket 05/26/2011 Page 2 of 9




        4.    Defendant, ARS NATIONAL SERVICES, INC., (“ARS”) is a

 corporation and citizen of the State of California with its principal place of

 business at 201 West Grand Avenue, Escondido, California 92025.

        5.    Defendant, LVNV FUNDING, LLC (“LVNV”), is a Delaware limited

 liability company, and all of its members are citizens of the State of South

 Carolina, with its principle place of business at Suite 206, 200 Meeting Street,

 Charleston, South Carolina 29401.

        6.    Defendant, ARS, regularly uses the mail and telephone in a business

 the principal purpose of which is the collection of debts.

        7.    Defendant, LVNV, regularly uses the mail and telephone in a business

 the principal purpose of which is the collection of debts.

        8.    Defendant, ARS, regularly collects or attempts to collect debts for

 other parties.

        9.    Defendant, LVNV, is a “debt collector” as defined in the FDCPA.

        10.   Defendant, ARS, is a “debt collector” as defined in the FDCPA.

        11.   Defendant, ARS, was acting as a debt collector with respect to the

 collection of Plaintiff’s alleged debt.

        12.   Defendant, LVNV, authorized Defendant, ARS, to collect the alleged

 debt from Plaintiff by placing telephone calls and sending letters on its behalf to

 Plaintiff.


                                           2
Case 0:11-cv-61227-DLG Document 1 Entered on FLSD Docket 05/26/2011 Page 3 of 9




       13.    Defendant, ARS, sent letters and placed telephone calls to Plaintiff in

 an effort to collect the alleged debt on behalf of LVNV.

       14.    Defendant, LVNV, conveyed information to Plaintiff regarding the

 alleged debt through Defendant, ARS’s telephone calls to Plaintiff.

       15.    By virtue of its status as a debt collector, LVNV, is vicariously liable

 to Plaintiff and the class for ARS’s violations of the FDCPA. See Pollice v.

 National Tax Funding, L.P., 225 F.3d 379, 405 (3d Cir. Pa. 2000); McCorriston v.

 L.W.T., Inc., 2008 U.S. Dist. LEXIS 60006, 11-12 (M.D. Fla. Aug. 7, 2008);

 Schutz v. Arrow Fin. Servs., LLC, 465 F. Supp. 2d 872, 876 (N.D. Ill. 2006).

                           FACTUAL ALLEGATIONS

       16.    Defendant, ARS, on behalf of LVNV sought to collect from Plaintiff

 an alleged debt arising from transactions incurred for personal, family or

 household purposes.

       17.    Defendant, LVNV, purchased or otherwise obtained the alleged debt

 and was the owner of the alleged debt at the time ARS placed calls to Plaintiff.

       18.    Defendant, ARS, left the following messages on Plaintiff’s residential

 voice mail on or about the dates stated:

       January 12, 2010 – Pre-Recorded Message
       Not Katherine Young, please press 2 now. Once again if this is Katherine
       Young please press 1 now. If this is not Katherine Young, please press 2
       now. Hello the following is a message from ARS, it is very important that
       we speak to Katherine Young. This is not a telemarketing or sales call.
       Please have them call us toll free 1-800-976-0960 and the reference number

                                            3
Case 0:11-cv-61227-DLG Document 1 Entered on FLSD Docket 05/26/2011 Page 4 of 9




       is 19051229. We need to be able to discuss this matter right away. Thank
       you. Good bye.

       January 13, 2010 – Pre-Recorded Message
       We speak to Katherine Young. This is not a telemarketing or sales call.
       Please have them call us toll free 1-800-976-0960 and the reference number
       is 19051229. We need to be able to discuss this matter right away, Thank
       you, Good bye.

       January 27, 2010 – Pre-Recorded Message
       Young, please press 2 now. Once again if this is Katherine Young, please
       press 1 now. If this is not Katherine Young please press 2 now. Hello the
       following is a message from ARS. It is very important that we speak to
       Katherine Young. This is not a telemarketing or sales call. Please have them
       call us toll free at 1-800-976-0960. The reference number is 19051229. We
       need to be able to discuss this matter right away. Thank you, Good bye.

       February 18, 2010 – Pre-Recorded Message
       Katherine Young, please press 2 now. Once again if this is Katherine Young,
       please press 1 now. If this is not Katherine Young please press 2 now. Hello
       the following is a message from ARS. It is very important that we speak to
       Katherine Young. This is not a telemarketing or sales call. Please have them
       call us toll free at 1-800-976-0960 and the reference number is 19051229.
       We need to be able to discuss this matter right away. Thank you, Good bye.

       March 10, 2010 – Pre-Recorded Message
       Katherine Young, please press 2 now. Once again if this is Katherine Young,
       please press 1 now. If this is not Katherine Young please press 2 now. Hello
       the following is a message from ARS. It is very important that we speak to
       Katherine Young. This is not a telemarketing or sales call. Please have them
       call us toll free at 1-800-976-0960, and the reference number is 19051229.
       We need to be able to discuss this matter right away. Thank you, Good bye.

       March 11, 2010
       Hi, this is Pat calling in reference to a file that I have here. The file number
       is 99339753. Give me a call back, my number is 1-800-900-1473, my
       extension is 5327. Thank you.

       May 6, 2010 – Pre-Recorded Message


                                            4
Case 0:11-cv-61227-DLG Document 1 Entered on FLSD Docket 05/26/2011 Page 5 of 9




       Katherine Young, please press 2 now. Once again, if this is Katherine
       Young, please press 1 now. If this is not Katherine Young, please press 2
       now. Hello, the follow is a message from ARS. It is very important that we
       speak to Katherine Young. This is not a telemarketing or sales call. Please
       have them call us toll free at 1-866-608-0400, the reference number is
       19339758. We need to be able to discuss this matter right away. Thank you,
       good bye.

       May 27, 2010 – Pre-Recorded Message
       That we speak to Katherine Young. This is not a telemarketing or sales call.
       Please have them call us toll free at 1-800-976-0960 and the reference
       number is 1051229. We need to be able to discuss this matter right away.
       Thank you, good bye.

       August 29, 2010
       This message is for Katherine Young. This is Ms. Montifar. I need you to
       return this call today at 1-800-665-3149 at extension 5366. Please call us
       back your reference id number is 19339758. Once again this message is for,
       ah, Katherine, I need you to return this call before 12 noon today. Thank you
       and you have a nice weekend.

       19.    Defendant, ARS, left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

       20.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       21.    Defendant, ARS, failed to inform Plaintiff in the messages that the

 communication was from a debt collector, failed to disclose its name, failed to

 disclose the purpose of its messages, and create a false sense of urgency by stating

 “[w]e need to be able to discuss this matter right away,” representing that the

 matter required immediate attention when it did not.

                                           5
Case 0:11-cv-61227-DLG Document 1 Entered on FLSD Docket 05/26/2011 Page 6 of 9




                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       22.    Plaintiff incorporates Paragraphs 1 through 21.

       23.    Defendant, ARS, failed to disclose in the telephone messages that it is

 a debt collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys.,

 424 F. Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006

 U.S. Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection

 Servs., 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       24.    Plaintiff incorporates Paragraphs 1 through 21.

       25.    Defendant, ARS, placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose its name and the

 purpose of Defendant’s communication in the telephone messages in violation of

 15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-

 61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September

 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga.

 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

                                 COUNT III
                          FALSE SENSE OF URGENCY

       26.    Plaintiff incorporates Paragraphs 1 through 21.




                                           6
Case 0:11-cv-61227-DLG Document 1 Entered on FLSD Docket 05/26/2011 Page 7 of 9




       27.      By claiming the matter required immediate attention when it did not,

 Defendant created a false sense of urgency in violation of 15 U.S.C §1692e.

                          CLASS ACTION ALLEGATIONS

       28.      Plaintiff incorporates the foregoing paragraphs.

       29.      This action is brought on behalf of a class defined as:

                a.       all Florida residents for whom Defendant, ARS, left a

       telephone message in which it failed to disclose that the communication was

       from a debt collector, its name, the purpose of the call, and created a false

       sense of urgency,

                b.       in an attempt to collect a debt incurred for personal, family,

       or household purposes,

                c.       allegedly due LVNV Funding, LLC.,

                d.       during the one-year period prior to the filing of the

       complaint in this matter through the date of class certification.

       30.      Plaintiff alleges on information and belief based on the use of uniform

 telephone messages that the class is so numerous that joinder of all members is

 impractical.

       31.      There are questions of law and fact common to the class, which

 common issues predominate over any issues involving only individual class

 members. The principal issues are:


                                             7
Case 0:11-cv-61227-DLG Document 1 Entered on FLSD Docket 05/26/2011 Page 8 of 9




                  a.        whether Defendant, ARS’s, messages violate the FDCPA

       and

                  b.        whether Defendants are debt collectors.

       32.        The claims of Plaintiff are typical of those of the class members. All

 are based on the same facts and legal theories.

       33.        Plaintiff will fairly and adequately protect the interests of the class.

 Plaintiff has retained counsel experienced in handling actions involving unlawful

 practices under the FDCPA and class actions. Neither Plaintiff nor her counsel

 have any interests which might cause them not to vigorously pursue this action.

       34.        Certification of a class under Rule 23(b)(2) of the Federal Rules of

 Civil Procedure is appropriate in that Defendants have acted on grounds generally

 applicable to the class thereby making appropriate declaratory relief with respect to

 the class as a whole.

       35.        Certification of the class under Rule 23(b)(3) of the Federal Rules of

 Civil Procedure is also appropriate in that:

             a.         The questions of law or fact common to the members of the

    classes predominate over any questions affecting an individual member.

             b.         A class action is superior to other available methods for the fair

    and efficient adjudication of the controversy




                                                8
Case 0:11-cv-61227-DLG Document 1 Entered on FLSD Docket 05/26/2011 Page 9 of 9




       WHEREFORE, Plaintiff, KATHERINE W. YOUNG, requests that the

 Court enter judgment in favor of herself and the class and against Defendant ARS

 NATIONAL SERVICES, INC and LVNV FUNDING, LLC.

              a.    Certification of this matter to proceed as a class action;

              b.    Statutory damages pursuant to 15 U.S.C. §1692k(a)(2)(B);

              c.    Attorney’s fees, litigation expenses and costs of suit; and

              d.    Such other or further relief as the Court deems proper.

                                      JURY DEMAND

        Plaintiff demands trial by jury.

                                           DONALD A. YARBROUGH, ESQ.
                                           Attorney for Plaintiff
                                           Post Office Box 11842
                                           Ft. Lauderdale, FL 33339
                                           Telephone: 954-537-2000
                                           Facsimile: 954-566-2235
                                           donyarbrough@mindspring.com


                                     By: s/ Donald A. Yarbrough
                                        Donald A. Yarbrough, Esq.
                                        Florida Bar No. 0158658




                                            9
